(1 of 25), Page 1 of 25     Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 1 of 25




                                                No. 24-5064


                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


                               NANCY FIEDLER, Personal Representative of
                                 the ESTATE OF LISA FIEDLER, et al.,

                                                                Plaintiffs-Appellants ,
                                                       v.

                                     UNITED STATES OF AMERICA,

                                                                Defendant-Appellee.


                               On Appeal from the United States District Court
                                   for the Central District of California
                                  No. 2:2lev7065 - Hon. Percy Anderson


                             APPELLEE UNITED STATES OF AMERICA'S
                                  SUPPLEMENTAL ADDENDUM

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(2 of 25), Page 2 of 25            Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 2 of 25




                                                       TABLE OF CONTENTS

                                                                                                                              Page(s)

             Statutes

             6 U.S.C. § 468 ............................................................................................................4
             14 U.S.C. § 101..........................................................................................................5
             14 U.S.C. § 501..........................................................................................................5
             16 U.S.C. § 831..........................................................................................................6
             16 U.S.C. § 831c ........................................................................................................6
             18 U.S.C. § 1115 ........................................................................................................6
             46 U.S.C. § 3315 ........................................................................................................7

             Regulations
             46 C.F.R. § 71.25-15 (1994) ............................................................................. 7, 8, 9
             46 C.F.R.§ 175.110 .............................................................................................9, 10
             46 C.F.R.§ 175.112 .................................................................................................10
             46 C.F.R. § 175.400 .................................................................................................10
             46 C.F.R. § 175.550 .................................................................................................11
             46 C.F.R. § 176.105 .................................................................................................11
             46 C.F.R. § 176.110 .......................................................................................... 11, 12
             46 C.F.R. § 176.400 .......................................................................................... 12, 13
             46 C.F.R. § 176.402 .......................................................................................... 13, 14
             46 C.F.R. § 176.404 .......................................................................................... 14, 15
             46 C.F.R. § 176.610 .................................................................................................14
             46 C.F.R. § 176.800 .......................................................................................... 15, 16
             46 C.F.R. § 176.801 .................................................................................................16
             46 C.F.R. § 176.802 .......................................................................................... 16, 17
             46 C.F.R. § 176.804 .......................................................................................... 17, 18
             46 C.F.R. § 176.806 .......................................................................................... 18, 19
             46 C.F.R. § 176.808 .......................................................................................... 19, 20
             46 C.F.R. § 176.810 .............................................................................. 20,21,22,23
             46 C.F.R. § 176.812 .................................................................................................23
             46 C.F.R. § 176.814 .................................................................................................23
             46 C.F.R. § 176.816 .................................................................................................23
             46 C.F.R. § 176.818 .................................................................................................23
             46 C.F.R. § 176.830 .......................................................................................... 23, 24
             46 C.F.R. § 176.840 .................................................................................................24
             46 C.F.R. § 177.30-7 (1995) ....................................................................................24
                                                                          2
(3 of 25), Page 3 of 25           Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 3 of 25




             46 C.F.R. § 182.115 .......................................................................................... 24, 25
             46 C.F.R. § 183.420 .................................................................................................25
             46 C.F.R. § 183.430 .................................................................................................25
             46 C.F.R. § 185.410 .................................................................................................25




                                                                       3
(4 of 25), Page 4 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 4 of 25




             Except for the following, all pertinent statutory and regulatory authorities are set
             out in the Appellant's previously filed Addendum to Opening Brief.

             6 U.S.C. §468. Preserving Coast Guard mission performance

             (a) Definitions
               In this section:
                   (l) Non-homeland security missions
                   The term "non-homeland security missions" means the following missions of
                   the Coast Guard:
                      (A) Marine safety.
                      (B) Search and rescue.
                      (C) Aids to navigation.
                      (D) Living marine resources (fisheries law enforcement).
                      (E) Marine environmental protection.
                      (F) Ice operations.

                   (2) Homeland security missions
                   The term "homeland security missions" means the following missions of the
                   Coast Guard:
                     (A) Ports, waterways and coastal security.
                     (B) Drug interdiction.
                     (C) Migrant interdiction.
                     (D) Defense readiness.
                     (E) Other law enforcement.
             ***

             (c) Maintenance of status of functions and assets
             Notwithstanding any other provision of this chapter, the authorities, functions, and
             capabilities of the Coast Guard to perform its missions shall be maintained intact
             and without significant reduction after the transfer of the Coast Guard to the
             Department, except as specified in subsequent Acts.
             ***




                                                       4
(5 of 25), Page 5 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 5 of 25




             14 U.S.C. § 101. Establishment of Coast Guard

             The Coast Guard, established January 28, 1915, shall be a military service and a
             branch of the armed forces of the United States at all times.

             14 U.S.C. § 501. Secretary; general powers

             For the purpose of executing the duties and functions of the Coast Guard the
             Secretary may within the limits of appropriations made therefor:

                  (a) establish, change the limits of, consolidate, discontinue, and re-establish
                      Coast Guard districts ,

                  (b) arrange with the Secretaries of the Army, Navy and Air Force to assign
                      members of the Coast Guard to any school maintained by the Army, Navy,
                     and Air Force, for instruction and training, including aviation schools ,

                  (c) construct, or cause to be constructed, Coast Guard shore establishments ,

                  (d) design or cause to be designed, cause to be constructed, accept as gift, or
                     otherwise acquire vessels, aircraft, and systems, and subject to applicable
                     regulations under subtitle I of title 40 and division C (except sections 3302,
                      350l(b), 3509, 3906, 4710, and 471 l) of subtitle I of title 41 dispose of
                      them,

                  (e) acquire land or interests in land, including acceptance of gifts thereof,
                      where required for the purpose of carrying out any project or purpose for
                      which an appropriation has been made,

                  (8 exchange land or interests in land in part or in full payment for such other
                     land or interests in land as may be necessary or desirable, the balance of
                     such part payment to be defrayable in accordance with other provisions of
                      this section,

                  (g) exercise any of the powers vested by this title in the Commandant in any
                      case in which the Secretary deems it appropriate, and

                  (h) do any and all things necessary to camy out the purposes of this title.


                                                        5
(6 of 25), Page 6 of 25     Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 6 of 25




             16 U.S.C. § 831. Creation; short title

             For the purpose of maintaining and operating the properties now owned by the
             United States in the vicinity of Muscle Shoals, Alabama, in the interest of the
             National defense and for agricultural and industrial development, and to improve
             navigation in the Tennessee River and to control the destructive flood waters in the
             Tennessee River and Mississippi River Basins, there is created a body corporate by
             the name of the "Tennessee Valley Authority" (hereinafter referred to as the
             "Corporation"). The Board of Directors first appointed shall be deemed the
             incorporators, and the incorporation shall be held to have been effected from the
             date of the first meeting of the Board. This chapter may be cited as the "Tennessee
             Valley Authority Act of 1933."

             16 U.S.C. § 831c. Corporate powers generally; eminent domain; construction
             of dams, transmission lines, etc.

             Except as otherwise specifically provided in this chapter, the Corporation
             ***

             (b) May sue and be sued in its corporate name.
             ***

             18 U.S.C. § 1115. Misconduct or neglect of ship officers

             Every captain, engineer, pilot, or other person employed on any steamboat or
             vessel, by whose misconduct, negligence, or inattention to his duties on such vessel
             the life of any person is destroyed, and every owner, charterer, inspector, or other
             public officer, through whose fraud, neglect, connivance, misconduct, or violation
             of law the life of any person is destroyed, shall be fined under this title or
             imprisoned not more than ten years, or both.

             When the owner or charterer of any steamboat or vessel is a corporation, any
             executive officer of such corporation, for the time being actually charged with the
             control and management of the operation, equipment, or navigation of such
             steamboat or vessel, who has knowingly and willfully caused or allowed such
             fraud, neglect, connivance, misconduct, or violation of law, by which the life of
             any person is destroyed, shall be fined under this title or imprisoned not more than
             ten years, or both.

                                                       6
(7 of 25), Page 7 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 7 of 25




             46 U.S.C. § 3315. Disclosure of defects and protection of informants
             (a) Each individual licensed under part E of this subtitle shall assist in the
             inspection or examination under this part of the vessel on which the individual is
             serving, and shall point out defects and imperfections known to the individual in
             matters subject to regulations and inspection. The individual also shall make
             known to officials designated to enforce this part, at the earliest opportunity, any
             marine casualty producing serious injury to the vessel, its equipment, or
             individuals on the vessel.
             (b) An official may not disclose the name of an individual providing information
             under this section, or the source of the information, to a person except a person
             authorized by the Secretary. An official violating this subsection is liable to
             disciplinary action under applicable law.
             46 C.F.R. § 71.25-15 (1994). Lifesaving equipment

             (a) At each annual inspection, the inspector shall conduct the following tests and
             inspections of lifesaving equipment:

                    (l) It shall be demonstrated that the air tanks of all lifesaving appliances are
                    airtight.

                    (2) Each lifeboat shall be lowered to near the water and then be loaded with
                    its allowed capacity, evenly distributed throughout the length and then be
                    lowered into the water until it is afloat and be released from the falls :
                    Provided, That lifeboats on river ferryboats and on river vessels shall be
                    lowered to the water and afloat before loading. In malting this test persons or
                    deadweight may be used. The total weight used shall be at least equal to the
                    allowed capacity of the lifeboat, considering persons to weigh 165 pounds
                    each.

                    (3) Each life preserver or wood float shall be examined to determine its
                    serviceability. If found to be satisfactory, it will be stamped "Passed,"
                    together with the date, the port, and the inspector's initials. If not in a
                    serviceable condition, the life preserver or wood float shall be removed from
                    the vessel. If the life preserver is beyond repair, it shall be destroyed in the
                    presence of the inspector.

                    (4) All lifeboat winch electrical control apparatus shall be opened up and
                    inspected.

                                                        7
(8 of 25), Page 8 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 8 of 25




             46 C.F.R. § 71.25-15 (1994). Lifesaving equipment (continued)

                    (5) Where gravity davits are installed, it shall be demonstrated that each
                    lifeboat can be swung out and lowered from any stopped position by merely
                    releasing the brake on the lifeboat winch. The use of force to start the davits
                    or the lifeboat winch will not be permitted.

                    (6) Inflatable liferafts shall be serviced at an approved servicing facility in
                    accordance with Subpart 160.051 of Subchapter Q (Specifications) of this
                    chapter. Inflatable liferafts shall be serviced at an approved servicing facility
                    every 12 months or not later than the next vessel inspection for certification
                    provided the total time since date of last servicing does not exceed 15
                    months. The period for servicing is computed from date of last servicing.
                    Except in emergencies no servicing should be done aboard vessels. If at any
                    time external damage is found to the container or straps or if the seal is
                    broken, the Officer in Charge, Marine Inspection, shall be notified and the
                    raft shall be serviced by an approved servicing facility.

                    Note: After the raft has been satisfactorily serviced in the presence of a
                    marine inspector at an approved servicing facility, the raft is repacked and
                    sealed and the carrying case stamped "passed" together with the date, port,
                    and the inspector's initials.

                    (7) Where launching devices for inflatable liferafts are installed, the
                    launching device shall be proof tested with a weight equal to the raft and its
                    full complement of persons and equipment.

                    (8) All other items of lifesaving equipment shall be examined to determine
                    that they are in suitable condition.

                    (9) A hydraulic release used in the installation of any liferaft, inflatable
                    liferaft, lifeboat, or buoyant apparatus shall undergo the periodic servicing
                    and testing required by Subpart 160.062 of Subchapter Q (Specifications) of
                    this chapter every 12 months which may be extended to 15 months as
                    determined by the date shown on its inspection tag. The springs of a spring-
                    tensioned gripe used in such an installation shall be renewed when the
                    accompanying hydraulic release is serviced and tested.

             (b) At each inspection for certification, and more often if necessary, a marine
             inspector inspects each exposure suit to determine its serviceability. Each

                                                        8
(9 of 25), Page 9 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 9 of 25




             46 C.F.R. § 71.25-15 (1994). Lifesaving equipment (continued)

             exposure suit found not to be in a serviceable condition must be removed from the
             vessel.

             46 C.F.R. § 175.110, General Applicability

             (a) Except as in paragraph (b) of this section, this subchapter applies to each vessel
             of less than 100 gross tons that carries 150 or less passengers, or has overnight
             accommodations for 49 or less passengers, and that -

                    (1) Carries more than six passengers, including at least one for hire,

                    (2) Is chartered with a crew provided or specified by the owner or the
                    owner's representative and is carrying more than six passengers ,

                    (3) Is chartered with no crew provided or specified by the owner or the
                    owner's representative and is carrying more than 12 passengers, or

                    (4) If a submersible vessel, carries at least one passenger for hire, or

                    (5) Is a ferry carrying more than six passengers.

                    Note to paragraph (a): For a vessel of less than 100 gross tons that carries
                    more than 150 passengers or has overnight accommodations for more than
                    49 passengers, see subchapter K of this chapter.

             (b) This subchapter does not apply to:

                    (l) A vessel operating exclusively on inland waters that are not navigable
                    waters of the United States ,

                    (2) An oceanographic research vessel,

                    (3) A boat forming part of a vessel's lifesaving equipment and that is not
                    used for carrying passengers except in emergencies or during emergency
                    drills ;

                    (4) A vessel of a foreign country that is a party to the International
                    Convention for the Safety of Life at Sea, 1974, as amended (SOLAS), to


                                                        9
(10 of 25), Page 10 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 10 of 25




             46 C.F.R. § 175.110, General Applicability (continued)

                    which the United States Government is currently a party, and that has on
                    board a current valid SOLAS Passenger Ship Safety Certificate, or

                    (5) A vessel of a foreign country, whose government has inspection laws
                    approximating those of the United States and that by its laws accords similar
                    privileges to vessels of the United States, which has on board a current valid
                    certificate of inspection, permitting the carrying of passengers, issued by its
                    government.

             46 C.F.R. § 175.112. Specific applicability for individual parts

             At the beginning of certain parts of this subchapter, a more specific application is
             given for all or particular portions of that part. This application sets forth the type,
             size, service, or age of a vessel to which certain portions of that part apply or
             particular dates by which an existing vessel must comply with certain portions of
             that part.
             46 C.F.R. § 175.400. Definitions of terms used in this subchapter
             The following terms are used in this subchapter:
             ***

             New vessel means a vessel:

                    (1) The initial construction of which began on or after March 11, 1996,

                    (2) Which was issued an initial Certificate of Inspection on or after
                    September 11, 1996,

                    (3) Which underwent a major conversion that was initiated on or after March
                    11, 1996, or

                    (4) Which underwent a major conversion that was completed and for which
                    an amended Certificate of Inspection was issued on or after September 11,
                    1996.
             ***

             Existing vessel means a vessel that is not a new vessel.

                                                        10
(11 of 25), Page 11 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 11 of 25




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             46 C.F.R. § 175.550, Special consideration

             In applying the provisions of this subchapter, the OCMI may give special
             consideration to authorizing departures from the specific requirements when
             unusual circumstances or arrangements warrant such departures and an equivalent
             level of safety is provided. The OCMI of each marine inspection zone in which the
             vessel operates must approve any special consideration granted to a vessel.
             46 C.F.R. § 176.105. How to obtain or renew

             (a) A Certificate of Inspection is obtained or renewed by malting application on
             Form CG 3752, "Application for Inspection ofU.S. Vessel," to the Coast Guard
             OCMI of the marine inspection zone in which the inspection is to be made. Form
             CG-3752 may be obtained at any U.S. Coast Guard Sector Office or Marine
             Inspection Office.

             (b) The application for initial inspection of a vessel being newly constructed or
             converted must be submitted prior to the start of the construction or conversion.

             (c) The construction, arrangement, and equipment of each vessel must be
             acceptable to the cognizant OCMI as a prerequisite of the issuance of the initial
             Certificate of Inspection. Acceptance is based on the information, specifications,
             drawings and calculations available to the OCMI, and on the successful completion
             of an initial inspection for certification.

             (d) A Certificate of Inspection is renewed by the issuance of a new Certification of
             Inspection.

             (e) The condition of the vessel and its equipment must be acceptable to the
             cognizant OCMI as a prerequisite to the Certificate of Inspection renewal.
             Acceptance is based on the condition of the vessel as found at the periodic
             inspection for certification.

             46 C.F.R. § 176.110, Routes permitted

             (a) The area of operation for each vessel and any necessary operational limits are
             determined by the cognizant OCMI, and recorded on the vessel's Certificate of
             Inspection. Each area of operation, referred to as a route, is described on the
             Certificate of Inspection under the major headings "Oceans," "Coastwise,"

                                                      11
(12 of 25), Page 12 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 12 of 25




             46 C.F.R. § 176.110, Routes permitted (continued)

             "Limited Coastwise," "Great Lakes," "Lakes, Bays, and Sounds," or "Rivers," as
             applicable. Further limitations imposed or extensions granted are described by
             reference to bodies of waters, geographical points, distance from geographical
             points, distances from land, depths of channel, seasonal limitations, and similar
             factors.

             (b) Operation of a vessel on a route of lesser severity than those specifically
             described or designated on the Certificate of Inspection is permitted unless
             expressly prohibited on the Certificate of Inspection. The general order of severity
             of routes is: oceans, coastwise, limited coastwise, Great Lakes, lakes, bays, and
             sounds, and rivers. The cognizant OCMI may prohibit a vessel from operating on a
             route of lesser severity than the primary route a vessel is authorized to operate on if
             local conditions necessitate such a restriction.

             (c) Non-self-propelled vessels are prohibited from operating on an oceans,
             coastwise, limited coastwise, or Great Lakes route unless the Commandant
             approves such a route.

             (d) When designating a permitted route or imposing any operational limits on a
             vessel, the OCMI may consider:

                    (1) Requirements of this subchapter for which compliance is based on the
                    route of the vessel,

                    (2) The performance capabilities of the vessel based on design, scantlings,
                    stability, subdivision, propulsion, speed, operating modes, maneuverability,
                    and other characteristics ,

                    (3) The suitability of the vessel for nighttime operations, and

                    (4) The suitability of the vessel for all environmental conditions.
             46 C.F.R. § 176.400, General

             (a) An inspection is required before the issuance of a Certificate of Inspection.
             Such an inspection for certification is not made until after receipt of the application
             for inspection required by § 176.105 .



                                                       12
(13 of 25), Page 13 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 13 of 25




             46 C.F.R. § 176.400, General (continued)

             (b) Upon receipt of a written application for inspection, the cognizant OCMI
             assigns a marine inspector to inspect the vessel for compliance with this subchapter
             at a time and place mutually agreed upon by the OCMI and the owner, managing
             operator, or representative thereof.

             (c) The owner, managing operator, or a representative thereof shall be present
             during the inspection.
             46 C.F.R. § 176.402. Initial inspection for certification

             (a) Before construction or conversion of a vessel intended for small passenger
             vessel service, the owner of the vessel shall submit plans, manuals, and
             calculations indicating the proposed arrangement, construction, and operations of
             the vessel, to the cognizant OCMI for approval, except when submitted to the
             Marine Safety Center (MSC) as allowed by part 177 of this subchapter. The plan,
             manuals, and calculations required to be submitted and the disposition of these
             plans are set forth in part 177, Subpart B of this chapter.

             (b) The initial inspection is conducted to determine that the vessel and its
             equipment comply with applicable regulations and that the vessel was built or
             converted in accordance with approved plans, manuals, and calculations.
             Additionally, during the inspection, the materials, workmanship, and condition of
             all parts of the vessel and its machinery and equipment may be checked to
             determine if the vessel is satisfactory in all respects for the service intended.

             (c) The owner or managing operator of a vessel shall ensure that the vessel
             complies with the laws and regulations applicable to the vessel and that the vessel
             is otherwise satisfactory for the intended service. The initial inspection may
             include an inspection of the following items :

                    (l) The arrangement, installation, materials, and scantlings of the structure
                    including the hull and superstructure, yards, masts, spars, rigging, sails,
                    piping, main and auxiliary machinery, pressure vessels, steering apparatus,
                    electrical installation, fire resistant construction materials, life saving
                    appliances, fire detecting and extinguishing equipment, pollution prevention
                    equipment, and all other equipment,

                    (2) Sanitary conditions and fire hazards, and

                                                      13
(14 of 25), Page 14 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 14 of 25




             46 C.F.R. § 176.402, Initial inspection for certification (continued)

                    (3) Certificates and operating manuals, including certificates issued by the
                    FCC.

             (d) During an initial inspection for certification the owner or managing operator
             shall conduct all tests and make the vessel available for all applicable inspections
             discussed in this paragraph, and in Subpart H of this part, to the satisfaction of the
             cognizant OCMI, including the following:

                    (1) The installation of each rescue boat, liferaft, inflatable buoyant
                    apparatus, and launching appliance as listed on its Certificate of Approval
                    (Form CGHQ-l0030).

                    (2) The operation of each rescue boat and survival craft launching appliance
                    required by part 180 of this chapter.

                    (3) Machinery, fuel tanks, and pressure vessels as required by part 182 of
                    this chapter.

                    (4) A stability test or a simplified stability test when required by § 170.175
                    of this chapter or § 178.320 of this chapter.

                    (5) Watertight bulkheads as required by part 179 of this chapter.

                    (6) Firefighting systems as required by part 181 of this chapter.

                    (7) The operation of all smoke and tire detecting systems, and fire alarms
                    and sensors.
             46 C.F.R. § 176.404, Subsequent inspections for certification

             (a) An inspection for renewal of a Certificate of Inspection is conducted to
             determine if the vessel is in satisfactory condition, fit for the service intended, and
             complies with all applicable regulations. It normally includes inspection and
             testing of the structure, machinery, equipment, and on a sailing vessel, rigging and
             sails. The owner or operator must conduct all tests as required by the OCMI, and
             make the vessel available for all specific inspections and drills required by subpart
             H of this part. In addition, the OCMI may require the vessel to get underway.



                                                       14
(15 of 25), Page 15 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 15 of 25




             46 C.F.R. § 176.404. Subsequent inspections for certification (continued)

             (b) You must submit your written application for renewal of a Certificate of
             Inspection to the OCMI at least 30 days prior to the expiration date of the
             Certificate of Inspection, as required in § 176.105 of this part.

             46 C.F.R. § 176.610, Scope of drydock and internal structural examinations

             (a) A drydock examination conducted in compliance with § 176.600 must be
             conducted while the vessel is hauled out of the water or placed in a drydock or
             slipway. During the examination all accessible parts of the vessel's underwater
             body and all through hull fittings, including the hull plating and planking,
             appendages, propellers, shafts, bearings, rudders, sea chests, sea valves, and sea
             strainers shall be made available for examination. Sea chests, sea valves, and sea
             strainers must be opened for examination. On wooden vessels, fastenings may be
             required to be pulled for examination. The accuracy of draft or loading marks, if
             required by § 185.602 of this chapter, must be verified if not verified at a previous
             drydock examination.

             (b) An internal structural examination conducted in compliance with § 176.600
             may be conducted while the vessel is afloat or out of the water and consists of a
             complete examination of the vessel's main strength members, including the major
             internal framing, the hull plating and planldng, voids, and ballast, cargo, and fuel
             oil tanks. Where the internal framing, plating, or planldng of the vessel is
             concealed, sections of the lining, ceiling or insulation may be removed or the parts
             otherwise probed or exposed so that the inspector may be satisfied as to the
             condition of the hull structure. Fuel oil tanks need not be cleaned out and internally
             examined if the marine inspector is able to determine by external examination that
             the general condition of the tanks is satisfactory.
             46 C.F.R. § 176.800, Inspection standards

             (a) A vessel is inspected for compliance with the standards required by this
             subchapter. Machinery, equipment, materials, and arrangements not covered by
             standards in this subchapter may be inspected in accordance with standards
             acceptable to the cognizant OCMI as good marine practice.

             (b) In the application of inspection standards due consideration must be given to
             the hazards involved in the operation permitted by a vessel's Certificate of


                                                      15
(16 of 25), Page 16 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 16 of 25




             46 C.F.R. § 176.800, Inspection standards (continued)

             Inspection. Thus, the standards may vary in accordance with the vessel's area of
             operation or any other operational restrictions or limitations.

             (c) The published standards of classification societies and other recognized safety
             associations may be used as guides in the inspection of vessels when such
             standards do not conflict with the requirements of this subchapter.

             46 C.F.R. § 176.801. Notice of inspection deficiencies and requirements

             (a) If during the inspection of a vessel, the vessel or its equipment is found not to
             conform to the requirements of law or the regulations in this subchapter, the
             marine inspector will point out deficiencies observed and discuss all requirements
             with the owner, managing operator, or a representative thereof. Normally, the
             marine inspector will list all such requirements that have not been completed and
             present the list to the owner, managing operator, or a representative thereof.
             However, when a deficiency presents a serious safety hazard to the vessel or its
             passengers or crew, and exists through negligence or willful noncompliance, the
             marine inspector may issue a Report of Violation (ROV) to the owner, managing
             operator, or a representative thereof.

             (b) In any case where further clarification of or reconsideration of any requirement
             placed against the vessel is desired, the owner, managing operator, or a
             representative thereof, may discuss the matter with the cognizant OCMI.

             46 C.F.R. § 176.802. Hull

             (a) At each initial and subsequent inspection for certification of a vessel, the owner
             or managing operator shall be prepared to conduct tests and have the vessel ready
             for inspections of the hull structure and its appurtenances, including the following:

                    (l) Inspection of all accessible parts of the exterior and interior of the hull,
                    the watertight bulkheads, and weather decks ,

                    (2) Inspection and operation of all watertight closures in the hull, decks, and
                    bulldieads including through hull fittings and sea valves,



                                                        16
(17 of 25), Page 17 of 25     Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 17 of 25




             46 C.F.R. § 176.802. Hull (continued)

                    (3) Inspection of the condition of the superstructure, masts, and similar
                    arrangements constructed on the hull, and on a sailing vessel all spars,
                    standing rigging, running rigging, blocks, fittings, and sails ,

                    (4) Inspection of all railings and bulwarks and their attachment to the hull
                    structure,

                    (5) Inspection to ensure that guards or rails are provided in dangerous
                    places7

                    (6) Inspection and operation of all weathertight closures above the weather
                    deck and the provisions for drainage of sea water from the exposed decks ,
                    and

                    (7) Inspection of all interior spaces to ensure that they are adequately
                    ventilated and drained, and that means of escape are adequate and properly
                    maintained.

             (b) The vessel must be afloat for at least a portion of the inspection as required by
             the marine inspector.

             (c) When required by the marine inspector, a portion of the inspection must be
             conducted while the vessel is underway so that the hull and internal structure can
             be observed.

             46 C.F.R. § 176.804, Machinery

             At each initial and subsequent inspection for certification of a vessel, the owner or
             managing operator shall be prepared to conduct tests and have the vessel ready for
             inspections of machinery, fuel, and piping systems, including the following:
             (a) Operation of the main propulsion machinery both ahead and astern,
             (b) Operational test and inspection of engine control mechanisms including
             primary and alternate means of starting machinery,
             (c) Inspection of all machinery essential to the routine operation of the vessel
             including generators and cooling systems ,

                                                        17
(18 of 25), Page 18 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 18 of 25




             46 C.F.R. § 176.804, Machinery (continued)

             (d) External inspection of fuel tanks and inspection of tank vents, piping, and pipe
             fittings;
             (e) Inspection of all fuel system,
             (8 Operational test of all valves in fuel lines by operating locally and at remote
             operating posltlons ,
             (g) Operational test of all overboard discharge and intake valves and watertight
             bulkhead pipe penetration valves ,
             (h) Operational test of the means provided for pumping bilges, and

             (i) Test of machinery alarms including bilge high level alarms.
             46 C.F.R. § 176.806, Electrical
             At each initial and subsequent inspection for certification of a vessel, the owner or
             managing operator shall be prepared to conduct tests and have the vessel ready for
             inspection of electrical equipment and systems, including the following:
             (a) Inspection of all cable as far as practicable without undue disturbance of the
             cable or electrical apparatus,
             (b) Test of circuit breakers by manual operation,
             (c) Inspection of fuses including ensuring the ratings of fuses are suitable for the
             service intended,
             (d) Inspection of rotating electrical machinery essential to the routine operation of
             the vessel,
             (e) Inspection of all generators, motors, lighting fixtures and circuit interrupting
             devices located in spaces or areas that may contain flammable vapors,
             (I) Inspection of batteries for condition and security of stowage,
             (g) Operational test of electrical apparatus, which operates as part of or in
             conjunction with a fire detection or alarms system installed on board the vessel, by
             simulating, as closely as practicable, the actual operation in case of fire, and


                                                       18
(19 of 25), Page 19 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 19 of 25




             46 C.F.R. § 176.806. Electrical (continued)

             (h) Operational test of all emergency electrical systems.
             46 C.F.R. § 176.808. Lifesaving
             (a) At each initial and subsequent inspection for certification of a vessel, the owner
             or managing operator shall be prepared to conduct tests and have the vessel ready
             for inspection of lifesaving equipment and systems, including the following:
                    (l) Tests of each rescue boat and each rescue boat launching appliance and
                    survival craft launching appliance in accordance with § 185.520 of this
                    chapter,
                    (2) Inspection of each life acker, work vest, and marine buoyant device,
                    (3) If used, inspection of the passenger safety orientation cards or pamphlets
                    allowed by § l85.506(b)(2) of this chapter;
                    (4) Inspection of each inflatable liferaft, inflatable buoyant apparatus, and
                    inflatable life acker to determine that it has been serviced as required by §
                    185.730 of this chapter, and
                    (5) Inspection of each hydrostatic release unit to determine that it is in
                    compliance with the servicing and usage requirements of § 185.740 of this
                    chapter.
             (b) Each item of lifesaving equipment determined by the marine inspector to not be
             in serviceable condition must be repaired or replaced.
             (c) Each item of lifesaving equipment with an expiration date on it must be
             replaced if the expiration date has passed.
             (d) The owner or managing operator shall destroy, in the presence of the marine
             inspector, each life acker, other personal floatation device, and other lifesaving
             device found to be defective and incapable of repair.
             (e) At each initial and subsequent inspection for certification of a vessel, the vessel
             must be equipped with an adult size lifejacket for each person authorized. The
             vessel must also be equipped with child size lifejackets equal to at least:
                    (1) 10 percent of the maximum number of passengers permitted to be carried
                    unless children are prohibited from being carried aboard the vessel, or
                                                       19
(20 of 25), Page 20 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 20 of 25




             46 C.F.R. § 176.808. Lifesaving (continued)

                    (2) 5 percent of the maximum number of passengers permitted to be carried
                    if all extended size life ackets are provided.
             (8 Lifejackets, work vests, and marine buoyant devices may be marked with the
             date and marine inspection zone to indicate that they have been inspected and
             found to be in serviceable condition by a marine inspector.
             (g) At each initial and subsequent inspection for certification, the marine inspector
             may require that an abandon ship or man overboard drill be held under simulated
             emergency conditions specified by the inspector.
             46 C.F.R. § 176.810, Fire protection

             (a) At each initial and subsequent inspection for certification, the owner or
             managing operator must be prepared to conduct tests and have the vessel ready for
             inspection of its fire protection equipment, including the following:
                    (1) Inspection of each portable fire extinguisher, semi-portable fire
                    extinguisher, and fixed gas fire extinguishing system to check for excessive
                    corrosion and general condition,
                    (2) Inspection of piping, controls, and valves, and the inspection and testing
                    of alarms and ventilation shutdowns, for each fixed gas fire extinguishing
                    system and detection system to determine that the system is in operating
                    condition,
                    (3) Operation of the fire main system and checldng of the pressure at the
                    most remote and highest outlets ,
                    (4) Testing of each firehose to a test pressure equivalent to its maximum
                    service pressure,
                    (5) Checking of each cylinder containing compressed gas to ensure it has
                    been tested and marked in accordance with 46 C.F.R. § 147.60,
                    (6) Testing or renewal of flexible connections and discharge hoses on semi-
                    portable extinguishers and fixed gas extinguishing systems in accordance
                    with 46 c.F.R. § 147.65, and
                    (7) Inspection and testing of all smoke and fire detection systems, including
                    sensors and alarms.
                                                       20
(21 of 25), Page 21 of 25    Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 21 of 25




             46 C.F.R. § 176.810, Fire protection (continued)

             (b) The owner, managing operator, or a qualified servicing facility as applicable
             must conduct the following inspections and tests:
                    (1) Portable and semi-portable extinguishers must be inspected and
                    maintained in accordance with NFPA 10 (incorporated by reference, see §
                    175.600 of this chapter) as amended here:
                            (i) Certification or licensing by a state or local jurisdiction as a fire
                            extinguisher servicing agency will be accepted by the Coast Guard as
                            meeting the personnel certification requirements of NFPA 10 for
                            annual maintenance and recharging of extinguishers .

                            (ii) Monthly inspections required by NFPA 10 may be conducted by
                            the owner, operator, person-in-charge, or a designated member of the
                            crew.
                            (iii) Non-rechargeable or non-refillable extinguishers must be
                            inspected and maintained in accordance with NFPA 10, however, the
                            annual maintenance need not be conducted by a certified person and
                            can be conducted by the owner, operator, person-in-charge, or a
                            designated member of the crew.
                            (iv) The owner or managing operator must provide satisfactory
                            evidence of the required servicing to the marine inspector. If any of
                            the equipment or records have not been properly maintained, a
                            qualified servicing facility must perform the required inspections,
                            maintenance procedures, and hydrostatic pressure tests. A tag issued
                            by a qualified servicing organization, and attached to each
                            extinguisher, may be accepted as evidence that the necessary
                            maintenance procedures have been conducted.
                    (2) For fixed-gas fire extinguishing systems, the inspections and tests
                    required by Table l76.8l0(b) of this section, in addition to the tests required
                    by 46 C.F.R. §§ 147.60 and 147.65. The owner or managing operator must
                    provide satisfactory evidence of the required servicing to the marine
                    inspector. If any of the equipment or records have not been properly
                    maintained, a qualified servicing facility may be required to perform the
                    required inspections, maintenance procedures, and hydrostatic pressure tests .


                                                         21
(22 of 25), Page 22 of 25      Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 22 of 25




             46 C.F.R. § 176.810. Fire protection (continued)

                  TABLE 176.810(b)-FIxED FIRE EXTINGUISHING SYSTEMS
                Type system                                            Test

              Carbon dioxide       Weigh cylinders. Recharge if weight loss exceeds 10 percent of weight of
                                   charge. Test time delays, alarms, and ventilation sllutdowlls with carbon
                                   dioxide, nitrogen, or other nonflanunable gas as stated in the system
                                   lnanufactu1°er's instniction manual. Inspect hoses and nozzles to be sure
                                   they are c1ea11.

              Halon                Weigh cylinders. Recharge if weight loss exceeds 5 percent of weight of
                                   charge. If the system has a pressure gauge, also recharge if pl'essure loss
                                   (adjusted for temperature) exceeds 10 percent. Test time delays, alarms
                                   and ventilation shutdowns with carbon dioxide, nitrogen, or other
                                   noiltlammable gas as stated in the system manufacturer's instruction
                                   manual. Inspect hoses and nozzles to be slu'e they are cleall.

              Dly Chemical         Examine pressure cartridge and replace if end is pu11ct111°ed or if
              (calllidge           detelmined to have leaked or to be in unsuitable condition. Inspect hose
              operated)            and nozzle to see if they are clear. Insert charged cartlidge. Ensure
                                   extinguisher contains full charge.

              Dly Cherie al        See that pressure gauge is in operating range. If not, Ol` if the seal is
              (stored pressure)    broken, weigh or otherwise determine that extinguisher is fully charged
                                   with dry chemical. Recharge if pressure is low or if did chemical is
                                   needed.

              Foam (stored         See that pressure gauge, if so equipped, is in the operating range. If not,
              pressure)            or if the seal is broken, weigh 01' otherwise determine that extinguisher is
                                   fully charged with foam. Recharge if presslu'e is low or if foam is
                                   needed. Replace premixed agent every 3 years .

              Clean Agents         Same as Halon.
              (Halon
              replace lents)



             (c) The owner, managing operator, or master must destroy, in the presence of the
             marine inspector, each firehose found to be defective and incapable of repair.




                                                             22
(23 of 25), Page 23 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 23 of 25




             46 C.F.R. § 176.810, Fire protection (continued)

             (d) At each initial and subsequent inspection for certification, the marine inspector
             may require that a fire drill be held under simulated emergency conditions to be
             specified by the inspector.
             46 C.F.R. § 176.812. Pressure vessels and boilers
             (a) Pressure vessels must be tested and inspected in accordance with part 61,
             subpart 61.10, of this chapter.
             (b) Periodic inspection and testing requirements for boilers are contained in §
             61.05 in subchapter F of this chapter.
             46 C.F.R. § 176.814, Steering systems
             At each initial and subsequent inspection for certification the owner or managing
             operator shall be prepared to test the steering systems of the vessel and make them
             available for inspection to the extent necessary to determine that they are in
             suitable condition and fit for the service intended. Servo-type power systems, such
             as orbital systems, must be tested and capable of smooth operation by a single
             person in the manual mode, with hydraulic pumps secured.
             46 C.F.R. § 176.816, Miscellaneous systems and equipment

             At each initial and subsequent inspection for certification the owner or managing
             operator shall be prepared to test and make available for inspection all items in the
             ship's outfit, such as ground tackle, navigation lights and equipment, marldngs, and
             placards, which are required to be carried by the regulations in this subchapter, as
             necessary to determine that they are fit for the service intended.
             46 C.F.R. § 176.818. Sanitary inspection
             At each inspection for certification and at every other vessel inspection, quarters,
             toilet and washing spaces, galleys, serving pantries, lockers, and similar spaces
             may be examined to determine that they are serviceable and in a sanitary condition.
             46 C.F.R. § 176.830, Unsafe practices

             (a) At each inspection for certification and at every other vessel inspection all
             observed unsafe practices, fire hazards, and other hazardous situations must be
             corrected and all required guards and protective devices must be in satisfactory
             condition.
                                                      23
(24 of 25), Page 24 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 24 of 25




             46 C.F.R. § 176.830, Unsafe practices (continued)

             (b) At each inspection for certification and at every other vessel inspection the
             bilges and other spaces may be examined to see that there is no excessive
             accumulation of oil, trash, debris, or other matter that might create a fire hazard,
             clog bilge pumping systems, or block emergency escapes.
             46 C.F.R. § 176.840, Additional tests and inspections
             The cognizant OCMI may require that a vessel and its equipment undergo any
             additional test or inspection deemed reasonable and necessary to determine that the
             vessel and its equipment are suitable for the service in which they are to be
             employed.

             46 C.F.R. § 177.30-7 (1995). Lounge arrangements
             (a) The specific requirements in this section apply to passenger lounge areas
             located below the main deck. Variation from these requirements may be authorized
             by the Officer in Charge, Marine Inspection, for unusual arrangements or design:
             Provided, That there is no significant reduction of space, accessibility or sanitation.
             ***

             (d) Covered metal trash containers shall be provided in lounge areas and the spaces
             shall be maintained to minimize fire and safety hazards and to preserve sanitary
             conditions. Portable fire extinguishers shall be provided as indicated in Subpart
             181.30 of this subchapter.
             46 C.F.R. § 182.115, Applicability; preemptive effect
             (a) Except as otherwise required by paragraphs (b), (c) and (d) of this section, an
             existing vessel must comply with the regulations on machinery, bilge and ballast
             system equipment, steering apparatus, and piping systems or components that were
             applicable to the vessel on March 10, 1996 or, as an alternative, the vessel may
             comply with the regulations in this part.
             (b) New installations of machinery, bilge and ballast system equipment, steering
             equipment, and piping systems or components on an existing vessel, which are
             completed to the satisfaction of the cognizant Officer in Charge, Marine Inspection
             (OCMI) on or after March II, 1996, must comply with the regulations of this part.
             Replacement of existing equipment installed on the vessel prior to March II, 1996,
             need not comply with the regulations in this part.

                                                       24
(25 of 25), Page 25 of 25   Case: 24-5064, 04/23/2025, DktEntry: 38.2, Page 25 of 25




             46 C.F.R. § 182.115, Applicability; preemptive effect (continued)

             (c) An existing vessel equipped with machinery powered by gasoline or other fuels
             having a flash point of 43.3 °C (110 °F) or lower must comply with the
             requirements of § l82.4l0(c) on or before March II, 1999.
             (d) On or before March 11, 1999, an existing vessel must comply with the bilge
             high level alarm requirements in § 182.530.
             (e) The regulations in this part have preemptive effect over State or local
             regulations in the same field.
             46 C.F.R. § 183.420, Navigation lights
             All vessels must have navigation lights that are in compliance with the applicable
             sections of the International and Inland Navigation Rules, except that a vessel of
             more than 19.8 meters (65 feet) in length must also have navigation lights that
             meet UL 1104, "Standards for Marine Navigation Lights," or other standard
             specified by the Commandant.
             46 C.F.R. § 183.430. Portable lights
             Each vessel must be equipped with at least two operable portable battery lights.
             One of these lights must be located at the operating station and the other at the
             access to the propulsion machinery space.
             46 C.F.R. § 185.410, Watchmen
             The owner, charterer, master, or managing operator of a vessel carrying overnight
             passengers shall have a suitable number of watchmen patrol throughout the vessel
             during the nighttime, whether or not the vessel is underway, to guard against, and
             give alarm in case of, a fire, man overboard, or other dangerous situation.




                                                      25
